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05
                              UNITED STATES DISTRICT COURT
06                           WESTERN DISTRICT OF WASHINGTON
                                       AT SEATTLE
07

08 UNITED STATES OF AMERICA,              )
                                          )
09               Plaintiff,               )            Case No. CR06-0414-RSL
                                          )
10               v.                       )
                                          )            DETENTION ORDER
11   CORYNN MICHELLE DAVIS,               )
                                          )
12               Defendant.               )
     ____________________________________ )
13

14 Offenses charged:

15          Counts 1 through 9: Bank Fraud in violation of 18 U.S.C. §§ 1344 and 2.

16          Count 10: Aggravated Identity Theft in violation of 18 U.S.C. § 1028A.

17 Date of Detention Hearing:      November 29, 2006.

18          The Court, having conducted a detention hearing pursuant to 18 U.S.C. § 3142(f), and

19 based upon the factual findings and statement of reasons for detention hereafter set forth, finds

20 the following:

21         FINDINGS OF FACT AND STATEMENT OF REASONS FOR DETENTION

22          (1)     Defendant has stipulated to detention, but reserves the right to contest her

23 continued detention if there is a change in circumstances.

24          (2)     There are no conditions or combination of conditions other than detention that

25 will reasonably assure the appearance of defendant as required or ensure the economic safety of

26 the community.

     DETENTION ORDER                                                                         15.13
     18 U.S.C. § 3142(i)                                                                  Rev. 1/91
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01         IT IS THEREFORE ORDERED:

02         (1)   Defendant shall be detained pending trial and committed to the custody of the

03               Attorney General for confinement in a correction facility separate, to the extent

04               practicable, from persons awaiting or serving sentences or being held in custody

05               pending appeal;

06         (2)   Defendant shall be afforded reasonable opportunity for private consultation with

07               counsel;

08         (3)   On order of a court of the United States or on request of an attorney for the

09               government, the person in charge of the corrections facility in which defendant

10               is confined shall deliver the defendant to a United States Marshal for the purpose

11               of an appearance in connection with a court proceeding; and

12         (4)   The Clerk shall direct copies of this Order to counsel for the United States, to

13               counsel for the defendant, to the United States Marshal, and to the United States

14               Pretrial Services Officer.

15               DATED this 29th day of November, 2006.

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17
                                                       A
                                                       JAMES P. DONOHUE
                                                       United States Magistrate Judge
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     DETENTION ORDER                                                                       15.13
     18 U.S.C. § 3142(i)                                                                Rev. 1/91
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